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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             Case No. 13-24354-CIV-COOKE/TORRES


TAIWAN SMART,

         Plaintiff,
vs.

THE CITY OF MIAMI,

      Defendant.
______________________/

                                      AMENDED JUDGMENT
         Pursuant to Federal Rule of Civil Procedure 58, the Jury Verdict (ECF No. 99), and the
Mandate of the Court of Appeals for the Eleventh Circuit (ECF No. 165), it is hereby ORDERED
and ADJUDGED that:
      1. The Final Judgment entered on August 12, 2015 (ECF No. 103) is VACATED.
      2. Amended Judgment is ENTERED in favor of the Plaintiff, TAIWAN SMART, and against
         the Defendant, CITY OF MIAMI, as to: 1) the state law false imprisonment claim; 2) the
         § 1983 Fourth Amendment claim based on the nonconsensual filming and broadcast of
         Plaintiff in handcuffs before and after his arrest; and 3) the § 1983 Fourth Amendment claim
         based on the nonconsensual filming and broadcast of Plaintiff’s interrogation. Plaintiff shall
         recover from Defendant a total of SEVEN HUNDRED SEVEN THOUSAND NINE
         HUNDRED FIFTY DOLLARS AND ZERO CENTS ($707,950.00), together with any
         applicable post-judgment interest, for which sum let execution issue.
         DONE and ORDERED in chambers, at Miami, Florida, this 19th day of October 2018.




Copies furnished to:
Edwin G. Torres, U.S. Magistrate Judge
Counsel of record
